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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3085

vs.
                                                          ORDER
LISA J. SCHUTTE,

                 Defendant.

       The above-named defendant intends to move for relief pursuant to 18
U.S.C. § 3563. She has moved for appointment of counsel (filing 298), and is
eligible for appointment of counsel pursuant to the Criminal Justice Act, 18
U.S.C. § 3006A, and Amended Criminal Justice Act Plan for the District of
Nebraska. Accordingly,

      IT IS ORDERED:

      1.   The defendant's Motion for Appointment Under the
           Criminal Justice Act (filing 298) is granted.

      2.   Joshua D. Barber is appointed, and shall promptly enter an
           appearance as counsel for the above-named defendant.

      3.   The Federal Public Defender's Office shall provide counsel
           with a draft appointment order (CJA Form 20) bearing the
           name and other identifying information of the CJA Panel
           attorney identified in accordance with the Criminal Justice
           Act Plan for this district.

      4.   The Clerk of the Court shall provide a copy of this order to
           the Federal Public Defender for the District of Nebraska
           and to the appointed attorney.
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      Dated this 28th day of June, 2016.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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